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 1                                                THE HONORABLE RICARDO S. MARTINEZ

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 7
                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
 9                                          AT SEATTLE

10   JAMES GINSKEY, RICHARD FITZGERALD,                  Case No. 2:18-cv-01773-RSM
     CHARLES CERF, BARRY DONNER, and on
11   behalf of the class members described below,        DEFENDANT NATIONAL SECURITIES
                                                         CORPORATION’S MOTION TO STAY
12                         Plaintiffs,                   PROCEEDINGS PENDING APPEAL
13          vs.
14
     NATIONAL SECURITIES CORPORATION, a
15   Washington Corporation;

16                         Defendants.

17

18                                       I.      INTRODUCTION

19          Defendant National Securities Corporation (“NSC”), moves this Court to stay this action
20   pending the resolution of NSC’s Petition for Permission to Appeal (“Petition”) this Court’s April
21
     27, 2021 Order, which granted Plaintiffs’ Motion for Class Certification (hereafter, the “Order”)
22
     Dkt. #66. Defendant’s Petition asks the Court of Appeals to resolve important legal questions
23
     raised by the Order. If the Court of Appeals answers those questions in NSC’s favor, this case may
24

25   not proceed as a class action. Defendant now respectfully requests that this Court stay further

26   proceedings pending final disposition of the Petition and any appeal, if permitted.

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 4                         II.       FACTUAL AND PROCEDURAL BACKGROUND

 5             At issue in this case are Plaintiffs’ investments in Beamreach Solar1 (“Beamreach”),
 6   through NSC, a FINRA registered brokerage firm. In early 2015, NSC began acting as a placement
 7
     agent for Beamreach, a solar panel company. Dkt. #62 ¶3. A placement agent’s role is to assist a
 8
     company in raising capital by introducing prospective investors to the company. Id. NSC made
 9
     two private placement offerings on behalf of Beamreach (collectively, the “Beamreach
10

11   Offerings”). Id. Each Beamreach Private Placement Memoranda provided with the Beamreach

12   Offerings contained extensive warnings to investors about the high-risk nature of investing in

13   Beamreach and expressly described the Beamreach investments as having a “high degree of risk.”
14   Dkt. #62 Exs. A at NSC000022; B at NSC000406; C at NSC000676 (emphasis added).
15
               The NSC Beamreach Offerings were only made to “a limited group of sophisticated
16
     ‘accredited investors’ within the meaning of Rule 501(a) under the Securities Act of 1933 as
17
     amended (the ‘Securities Act’), in a private placement designed to be exempt from registration
18

19   under the Securities Act, and other applicable securities laws.” Id. Exs. A at NSC000001; B at

20   NSC000383; C at NSC000665. Accordingly, Plaintiffs were all high net worth, experienced

21   investors. Additionally, each investor had a different risk profile that they provided to NSC. See
22
     Dkt. #63 Exs. 2, 4, 5, 7, 8, 10, 11.
23
               Relying on FINRA’s rule requiring brokers to determine whether a security is suitable for
24
     sale, Plaintiffs brought state law negligence claims alleging that NSC was negligent by: (1) not
25

26
     1
27       Beamreach was previously known as “Solexel.”
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 1   conducting adequate due diligence on Beamreach; and (2) failing to understand the risks and
 2   rewards of the Beamreach offerings or consciously ignoring the risks presented by those red flags.
 3
     Dkt. #1 ¶¶131-166. Plaintiffs also have made a state law claim for unjust enrichment. Dkt. #1
 4
     ¶¶167-174.
 5
            On April 27, 2021, this Court certified a Civil Rule 23(b)(3) class and three sub-classes of
 6

 7   Beamreach investors who resided in 41 jurisdictions and worked with 27 NSC brokers located in

 8   five states. Dkt. #66. The Order requires Plaintiffs to submit to NSC the proposed Notice forms

 9   and the Plan for disseminating Notice to the Class and Subclasses. It also requires counsel to confer
10   and submit an agreed Notice and Plan to the Court. On May 11, 2021, NSC filed the attached
11
     Petition with the United States Court of Appeals for the Ninth Circuit, asking this Court to grant
12
     NSC’s leave under Fed. R. Civ. P. 23(f) to immediately appeal the Order. Defendant’s Petition is
13
     timely under Fed. R. Civ. P. 23(f) (petition must be filed within 14 days after entry of order); see
14

15   also Beck v. Boeing Co., 320 F.3d 1021, 1023 (9th Cir. 2003).

16          NSC files this motion and respectfully requests this Court to enter a stay pending resolution

17   by the Ninth Circuit of the Petition and any subsequent appeal. As demonstrated below, a stay is
18
     appropriate pending guidance from the Ninth Circuit on how, and if, this case may proceed as a
19
     class action. No interest of the parties, class members, the Court, or the public is served by
20
     proceeding with class notice and trial preparation given the pending appeal of class certification.
21
     To the contrary, to continue proceedings under these circumstances would be inconsistent with the
22

23   efficient use of the parties’ resources and judicial economy.

24                                    III.    LAW AND ARGUMENT
25          Fed. R. Civ. P. 23(f) does not provide for an automatic stay of proceedings when a petition
26
     for permission to appeal is filed; however, a district court has discretion to stay a proceeding.
27
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 1   Hooper v. City of Seattle, Case No. C17-77 RSM, 2017 U.S. Dist. LEXIS 209353, at *2 (W.D.
 2   Wash. Dec. 20, 2017) (citing Lambert v. Nutraceutical Corp., 870 F.3d 1170, 1180 (9th Cir. 2017))
 3
     (Judge R. Martinez granting motion to stay proceedings pending appeal). There are four factors
 4
     courts consider when considering whether to grant a stay pending appeal: “(1) whether the
 5
     applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the
 6

 7   moving party will be irreparably injured absent a stay; (3) whether a stay will substantially injure

 8   the opposing party; and (4) whether the public interest favors a stay.” B.F. v. Amazon.com Inc.,

 9   Case No. C19-910-RAJ-MLP, 2020 U.S. Dist. LEXIS 115562, at *4-*5 (W.D. Wash. May 15,
10   2020) (citing Britton v. Co-op Banking Grp., 916 F.2d 1405, 1412 (9th Cir. 1990); Hilton v.
11
     Braunskill, 481 U.S. 770, 776, 107 S.Ct. 2113, 95 L. Ed. 2d 724 (1986)). “‘The first two factors .
12
     . . are the most critical.’” B.F., 2020 U.S. Dist. LEXIS 115562, at *5 (citing Nken v. Holder, 556
13
     U.S. 418, 434, 129 S. Ct. 1749, 173 L.Ed. 2d 550 (2009)).
14

15      A. Defendant’s Petition Raises Substantial Legal Questions

16          A party “‘must show, at a minimum, that [they have] a substantial case for relief on the

17   merits.’” B.F., 2020 U.S. Dist. LEXIS 115562, at *5 (citing Leiva-Perez v. Holder, 640 F.3d 962,
18
     964 (9th Cir. 2011)). If a party is able to show the issue raised on appeal raises a serious legal
19
     question and the remaining factors courts consider favor a stay, a party does not need to show that
20
     they are more likely than not to win on the merits. Id. Defendant includes at least two such
21
     questions in its Petition, which raise the issue of whether this Court’s grant of class certification
22

23   was proper in this instance.

24                  (i)     Defendant Seeks Review Of This Court’s Conflicts Of Law Analysis,
                            Which Raises A Serious Legal Question.
25
            First, NSC seeks review of this Court’s conflicts of law analysis. NSC argues in its Petition
26

27   that this Court did not conduct a rigorous choice of law analysis and committed manifest error by
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 1   deciding that either Washington or New York law would apply to all class members despite
 2   Beamreach investors residing in 39 states, Washington, D.C., and Switzerland. Dkt. #62 ¶9. In the
 3
     petition, NSC argues that the choice of law decision was manifestly erroneous because potentially
 4
     41 different jurisdictions’ laws apply to Plaintiffs’ state law claims and this Court did not analyze
 5
     the conflict of laws issue under constitutional due process or Washington state’s “most significant
 6

 7   relationship” test for each jurisdiction with an interest in this litigation. See Phillips Petroleum Co.

 8   v. Shutts, 472 U.S. 797, 821-22, 105 S. Ct. 2965, 2979, 86 L. Ed. 2d 628 (1985) (applying forum

 9   state law to out-of-state class members must conform with due process); FutureSelect Portfolio
10   Mgmt., Inc. v. Tremont Grp. Holdings, Inc., 180 Wn.2d 954, 967, 331 P.3d 29, 36 (2014).
11
            There are substantial variations in state negligence and unjust enrichment claims. See Haley
12
     v. Medtronic, Inc., 169 F.R.D. 643, 653 (C.D.Cal.1996) (“[N]o matter how similar—or
13
     comparable—each state's law on negligence may be, it is clear—despite plaintiffs' argument—that
14

15   the negligence laws of the fifty states have some differences.”). Due to the differences in the laws

16   of each jurisdiction, this Court needed to analyze conflicts of law for each of the 41 jurisdictions

17   with interests in this litigation before determining that Washington or New York law applied to all
18
     class members’ claims. See Zinser v. Accufix Research Ins., Inc., 253 F.3d 1180, 1188 (9th Cir.),
19
     opinion amended on denial of reh’g, 273 F.3d 1266 (9th Cir. 2001)(reversing class certification
20
     and refusing to apply single negligence law of state where manufacturer was headquartered to
21
     nationwide class). The Court’s decision to apply the law of the location of NSC’s headquarters
22

23   was contrary to the Washington State Supreme Court’s ruling in FutureSelect. See FutureSelect

24   Portfolio Mgmt., 180 Wn.2d at 967 (“Washington has a strong interest in giving Washington
25   investors the benefit of Washington law and in requiring the sellers of securities to comply with
26

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 1   it,” recognizing that Washington had a more compelling interest in protecting investors than New
 2   York did in regulating its sellers of securities.)
 3
             This Court also appears to have accepted Plaintiffs’ argument that Washington law would
 4
     apply here because allegedly “Defendant had previously admitted to the applicability of
 5
     Washington law.” Dkt. #66 at 7:21-23. But in making this argument, Plaintiffs failed to provide
 6

 7   this Court with Ninth Circuit controlling law on this issue (Gen. Signal Corp. v. MCI Telecomms.

 8   Corp., 66 F.3d 1500, 1505 (9th Cir. 1995)) and NSC never had the opportunity to respond to this

 9   argument Plaintiffs raised on reply. In Gen. Signal, this Court recognized under similar
10   circumstances that earlier reliance on a forum’s law does not judicially estop a party from later
11
     asserting a conflict of law. 66 F.3d at 1505.
12
             Because of the conflicts of law issue, NSC contends it was manifest error to find that the
13
     class satisfied the commonality, typicality, predominance, and superiority requirements for
14

15   certification.

16                    (ii)   Defendant Seeks Review Of This Court’s Analysis Of Whether
                             Common Questions Predominate Over Individualized Issues Of
17                           Suitability, Which Raises A Serious Legal Question.
18
             Defendant also seeks review of this Court’s determination that common questions
19
     predominate over individualized issues with regard to suitability, which presents a substantial issue
20
     meriting a stay. First, this Court held that the “question of due diligence prior to approval for sale
21
     predominates over any questions affecting individual brokers or investors.” Dkt. #66 at 11:4-7. In
22

23   order to answer the question of due diligence prior to approval for the sale, there must be an

24   analysis of the 27 individual NSC brokers who conducted the due diligence prior to the approval
25   of Beamreach. Dkt. #60 at 2.
26
             According to NSC’s own policies and FINRA’s suitability rule 2111.05, due diligence is
27
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 1   conducted by both NSC firm-wide and its individual brokers. Dkt. #62 ¶5, Ex. D. NSC performs
 2   due diligence and makes a firmwide-level suitability determination for each investment to
 3
     determine whether it is suitable to be sold to any investor before NSC’s individual brokers may
 4
     offer it for sale. Id. Then, each broker must make his or her own suitability determination based
 5
     on his or her own reasonable due diligence. Id.; see also Dkt. #62 Ex. H, at 15:21-16:11. As such,
 6

 7   no securities are actually sold to customers based solely on the firm-level due diligence. Dkt. #62

 8   ¶5, Ex. D. Accordingly, to adjudicate this matter as a class, there would need to be an analysis of

 9   what each of the 27 individual NSC brokers who sold to different investors did for the due
10   diligence and how they made their suitability determinations about Beamreach.
11
             Second, this Court determined “[i]f NSC violated its FINRA obligations at the outset and
12
     is found to be negligent, liability will likely apply regardless of the different risk tolerances of class
13
     members.” Dkt. #66 at 11:8-9. But all that Plaintiffs’ evidence here showed was that Beamreach
14

15   was a high-risk investment (as disclosed to Plaintiffs), not that it was unsuitable for even a single

16   investor. See Dkt. #61 Ex. A, at 6 (“Higher risk securities are offered and sold daily with higher

17   risk premiums”). If the investment was suitable for even one class member, then there can be no
18
     liability in this case. Accordingly, each class member’s risk tolerance must be analyzed.
19
             Further, “if the main issues in a case require the separate adjudication of each class
20
     member’s individual claim or defense, a Rule 23(b)(3) action would be inappropriate.” Zinser, 253
21
     F.3d at 1189. NSC has asserted assumption of risk and comparative fault defenses. Dkt. #31 ¶¶5,
22

23   6. These are highly individualized defenses that will depend on what each investor knew, what

24   they were told by their broker, what independent research they had done, what they individually
25   knew about Beamreach or the solar market, their risk tolerance, their investing history, and whether
26
     they appreciated the risks of investing in Beamreach, among other factors.
27
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 1          As such, Defendant argues that this Court erred when it found the predominance
 2   requirement satisfied and seeks review of this Court’s determination that common questions
 3
     predominate over individualized issues with regard to suitability, which represents a substantial
 4
     issue meriting a stay.
 5
        B. Defendant Will Be Irreparably Injured Absent A Stay
 6

 7          If this Court denies the stay, Defendant will likely have to provide class-related discovery

 8   to Plaintiffs, coordinate with Plaintiffs on a notice plan, prepare dispositive motions, witnesses,

 9   jury instructions, trial exhibits, and perform legal analysis on the certified class’s claims and
10   damages. The significant expenses, time, and resources entailed in this process may be entirely
11
     mooted if the Ninth Circuit reverses class certification. It makes no sense to proceed with the
12
     claims of hundreds of class members until the Petition to the Ninth Circuit (and any appeal) are
13
     resolved.
14

15      C. A Stay Will Not Substantially Injure Plaintiffs

16          A stay of this litigation will not injure Plaintiffs. Plaintiffs will not incur additional

17   litigation costs pending resolution of Defendant’s Petition. Additionally, a stay will prevent
18
     Plaintiffs from incurring unnecessary and expensive notice and discovery costs if the Petition to
19
     the Ninth Circuit is granted and the class certification is reversed.
20
        D. Public Interest Favors A Stay
21
            A stay would further public interest because it would promote judicial efficiency and
22

23   economy. If the Ninth Circuit reverses the class certification, Defendant and Plaintiffs would have

24   to start over with discovery and will have spent unnecessary, time, resources, and money. It does
25   not make sense for the parties to spend time and resources resolving issues relating to this large
26
     class of plaintiffs only to find out later that there are only four plaintiffs instead of hundreds of
27
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 1   class members. See Hooper, U.S. Dist. LEXIS 209353, at *4 (finding the “stay promotes the
 2   ‘orderly course of justice’ and judicial efficiency as the parties will not have to engage in discovery
 3
     efforts which may later have to be recalibrated, nor will the Court and the parties have to duplicate
 4
     their efforts if the Ninth Circuit allows Plaintiffs to proceed as a class.”).
 5
                                              IV. CONCLUSION
 6

 7           For the foregoing reasons, Defendant respectfully requests that this Court grant this motion

 8   and stay all proceedings in this matter until Defendant’s Petition for permission to appeal pursuant

 9   to Rule 23(f) has been finally resolved, or, if granted, until Defendant’s appeal has concluded.
10

11
     Dated: May 13, 2021
12

13                                                   Respectfully submitted,
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 4
                                     CERTIFICATE OF SERVICE
 5
            I hereby certify that on May 13, 2021, I served the foregoing DEFENDANT NATIONAL
 6
     SECURITIES MOTION TO STAY PROCEEDINGS PENDING APPEAL, via email per the
 7
     parties’ agreement, on the following:
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